Case 1:18-cv-00826-VJW Document1 Filed 06/11/18 Page1of 27

In the United States Court of Federal Claims

)
)
Plaintiff(s), Hy
aintiff(s) Case No. 18-826 C
v. Judge
THE UNITED STATES, ; r | LED
Defendant. JUN 11 2048
U.S. COURT OF
FEDERAL
COMPLAINT eect

Your complaint must be clearly handwritten or typewritten, and you must sign and declare under
penalty of perjury that the facts are correct. If you need additional space, you may use another blank

page.

If you intend to proceed without the prepayment of filing fees (in forma pauperis (IFP)), pursuant to
28 U.S.C. § 1915, you must file along with your complaint an application to proceed IFP.

1. JURISDICTION. State the grounds for filing this case in the United States Court of Federal
Claims. The United States Court of Federal Claims has limited jurisdiction (see e.g., 28 U.S.C.
§§ 1491-1509).

see attached

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JUN 1 4 2018
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2. PARTIES

Plaintiff, , resides at

(Street Address}

(City, State, ZIP Code) (Telephone Number}

If'more than one plaintiff, provide the same information for each plaintiff below.

see attached compaint, exhibit 1 and certificate of service

RELATED CASES. Is this case directly related to any pending or previously filed cases in the
United States Court of Federal Claims? Yes (e@) No

If yes, please list the case(s) below, including case number(s):

3. STATEMENT OF THE CLAIM. State as briefly as possible the facts of your case. Describe
how the United States is involved. You must state exactly what the United States did, or failed
to do, that has caused you to initiate this legal action. Be as specific as possible and use
additional paper as necessary,

see attached

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4, RELIEF. Briefly state exactly what you want the court to do for you.
see attached

I declare under penalty of perjury that the foregoing is true and correct.

Signed this 6th day of June 2018
(day) (month) (year}

SL. fk /

Signature of Plain fils)

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IN THE UNITED STATES COURT OF FEDERAL CLAIMS

EDWARD THOMAS KENNEDY,

Plaintiff,

Case No.

UNITED STATES OF AMERICA,
et al,
Defendants,

~

Plaintiffs Original Complaint

1. Edward Thomas Kennedy, Plaintiff, hereinafter "Kennedy" is one
of the people of Pennsylvania wishes this court of record provide him on his own
behalf with ECF access to this and all cases at this court of record.
FIRST CAUSE OF ACTION — TRESPASS
PARTIES

2. Edward Thomas Kennedy, (hereinafter "Kennedy") is one of the people of
Pennsylvania, and in this court of record on his own behalf complains of each of the
following: United States of America, United States Government, Department of Defense,
Joseph Francis Dunford, United States Postal Service, Megan Brennan, Thomas Marshall,
Catriona M. Coppler, Commonwealth of Pennsylvania, The Unified Judicial System of
Pennsylvania, Supreme Court of Pennsylvania, Robert Mahalchick, Borough of

Minersville, Megan Paul, Michae! Combs, Richard Charles Clink, Walter J. Miscavage,

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William Angelo, Joseph Post, Albert Joseph Evans, Frederick James Fanelli, Sudhir
Raman Patel, Martin Joseph Cerullo, Thomas Westerman Wolf, Joshua David Shapiro,
Thomas G. Saylor, Robert D. Castille, Michael Andrew O'Pake, Thomas Patrick Pellish,
Christine Anne Holman, David G. Argall, Neal Patrick Goodman, Matthew Cartwright,
David A. Plachko, Joseph G. Groody, Frank J. Staudenmeier, Karen LL. Domalakes,
Michael J. Stine, Rubright, Domalakes, Troy & McDonald (Attorneys at Law), Cerullo,
Datte & Burke, P.C., Fanelli, Evans & Patel, P.C., Robert Benjamin Patton, County of
Schuylkill, George Francis Halcovage, Gary Hess, Martin Heckman, Brian Tobin, County
of Lehigh, Upper Macungie Township, Joseph N. Hanna, Martin Wayne Nothstein, Percy
H. Dougherty, Phillips A. Armstrong, Robert Ibach, Edgardo A. Colon, Upper Macungie
Township, Bar Association of Lehigh County, Schuylkill County Bar Association,
Pennsylvania Bar Association, Stephen J. Marshall, James Bernard Martin, Patrick Joseph
Toomey, Robert Evanchek, Bradley J. Getz, Tyree C. Blocker, Richard H. D'Ambrosia,
Pennsylvania State Police, The Disciplinary Board of the Supreme Court of Pennsylvania,
' Maria Casey, David John Dutcavage, Raymond S. Wierciszewski, Alan J. Davis, Paul J.
Killion, Paul J. Burgoyne, Glenn T. Roth, Department of the Treasury, Steven Terner
Mnuchin, Thomas B. Darr and the Federal Reserve Bank of New York, hereinafter
“Kidnapper”, and all collectively “Kidnappers”; who are

each summoned to answer and declare under penalty of perjury the said in a plea of
trespass, trespass on the case, trespass on the case - vicarious liability, failure to provide a

republican form of government and trover, to wit:

1 Copy sent with reverent respect to Jesuit Gencral at Wernersvillc, Pennsylvania

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INTRODUCTION

2, Each Kidnapper exceeded their jurisdiction by either directly, through an
agent, or in concert with another did cause Kennedy to be unlawfully and forcibly carried
away and imprisoned? against his will, without jurisdiction or good cause. Said
Kidnappers, without good cause, imprisoned Kennedy. During imprisonment the
Kidnappers took further casual ill-considered actions to further imprison Kennedy for up
to three days without trial or due process. Paraphrasing Senator John Kennedy, a
Republican from Louisiana, Justice in Pennsylvania sucks.

3, From the moment he was taken away till the present, Kennedy, under color
of law, was kept in actual or constructive imprisonment. Although he objected to the
assumed jurisdiction, those who kept him imprisoned under color of law did not respond
to any of his demands and requests for proof of jurisdiction or for reinstatement of his
liberty. They continued to assume the jurisdiction without proof of jurisdiction or any
attempt at proof of jurisdiction. Kennedy continues to be subject, under color of law, to
the assumed jurisdiction, will and control of the Kidnappers.

4, Under color of law, Kennedy was subjected to pseudo-psychological
evaluations at the County of Lehigh prison, AWentown, Pennsylvania on August 28, 2017
and the County of Schuylkill prison on August 30, 2017.

SPECIFICS

* Imprison: To confine a person or restrain his liberty in any way. Black’s Law Dictionary, 5th Edition
Imprisonment: ...it may be in a locality used only for the specific occasion; or it may take place without the actual
application of any physical agencies of restraint (such as locks or bars), as by verbal compulsion and the display of
available force. Biack’s Law Dictionary, 5th Edition.

Plaintiff's Original Complaint
3.

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5. Fach defendant acted in such a way, or failed to act in such a way, that
Kennedy is deprived of his liberty. Each defendant acted to deprive claimant Kennedy of
his liberty; or each defendant failed to act to prevent the loss by Kennedy of his liberty.
Further, each defendant is a willing participant in concert with each of the remaining
defendants.

6, At all times mentioned in this action each defendant is the agent of the
other, and in doing the acts alleged in this action, each is acting within the course and
scope of said agency. The following paragraphs describe what the Kidnappers, under color
of law, either acted or failed to act as obligated,

7. Each defendant exceeded his jurisdiction under color of law. Each
defendant acted in concert with the remaining defendants to affect the unlawful loss of
liberty of Kennedy.

8. County of Schuylkill prison is at 230 Sanderson Street, Pottsvilie, PA
17901. Schuylkill County Courthouse is at 401 North Second Street, Pottsville, PA 17901.
County of Lehigh prison is at 38 North Fourth Street, Allentown, PA 18102.

9, At no time has Kennedy ever entered a voluntary plea.

{0. With a one page letter signed by M Judith Johnston, County of Lehigh
employee, Johnston provided Kennedy with a false and/or fake, one page Bench Warrant
signed by William E. Baldwin, the President Judge.

11. On January 10, 2018, Thomas Patrick Pellish provided Kennedy with
signed, official records of Clink and Plachko, who both lied under oath in documents and
records provided by Pellish to Kennedy.

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12. On June 2, 2017 between 2PM and 3PM local time at 401 Tillage Rd.,
Breinigsville, PA 18031, Kidnappers Getz, D'Ambrosia, Colon, Hanna and Marshall
threatened to kill Kennedy with firearms and/or weapons’ under color of law, and were
overheard stating that they came to kill another Kennedy.

13. On August 28, 2017 at the Target store parking lot at 749 N Krocks Road,
Allentown, PA 18106 at 0am, Kidnappers used excessive force and transported Kennedy
in handcuffs and chains to the County of Lehigh prison.‘

14, On August 28, 2017 to August 30, 2017 inclusive at and in the County of
Lehigh prison and County of Schuyikill prison, Kennedy was injured by the Kidnappers.

15. On August 28, 2017 Kennedy was stripped naked, given a rectal exam,
forced to wear prison clothes, given physical and mental exams and caged in solitary
confinement conditions’ based on the color of law.

16. On August 30, 2017, Kidnapper Heckman transported Kennedy to County
of Schuylkill prison under color of law injuring the Plaintiff as described herein.

17. On August 30, 2017, Heckman and Tobin injured Kennedy with extreme
deadly force. Kennedy was again stripped naked, given a second rectal exam, forced
again to wear prison clothes, again given physical and mental exams and again caged in
solitary confinement like conditions based on the color of law. Solitary confinement

“drives men mad,” Justice Anthony McLeod Kennedy said in 2015.

3 Training and weapons were provided by Defendant Department of Defense and Defendant
Joseph Francis Dunford.

* Tracking Technology provided to the Kidnappers by Defendant Department of Defense.

5 "Solitary confinement makes men mad," Anthony McLeod Kennedy.

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18. On August 30, 2017, Kennedy was involuntarily brought before a court not
of record and not a nisi prius court. Kennedy objected to the jurisdiction of the court to
James Goodman, Judge and later objected to the jurisdiction of the same court on to
separate day and occasion to Charles Miller, also a Judge.

19. Defendants Saylor, Davis, Holman, O'Pake, Pellish, Evanchick and other
Kidnappers without proof of jurisdiction, each ignored Kennedy’s objections, and
proceeded under color of law to continue his constructive imprisonment.

20. Because of the actions committed with actual and implied force or the lack
of action of the defendants, Kennedy was immediately and directly injured and suffered
loss of liberty, and imprisoned under color of law.

21. Defendants have a duty to not cause Kennedy to be imprisoned under color
of law, to not cause loss of liberty. Further, defendants have a duty to prove jurisdiction
when objection to jurisdiction is asserted.

22. Defendants have breached that duty.

23. The damages for the injury caused by defendants’ actions are $50,000 for
each day of unlawful imprisonment for each defendant.

24. The damages for the injury caused by defendant's’ absence of required
action is $5,000 for each failure to act.

SECOND CAUSE OF ACTION — TRESPASS ON THE CASE
25. Paragraphs 1 through 24 are included by reference as though fully stated

herein.

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26. By right, Kennedy reasonably expects to proceed without injury, secure m
his capacities. By right, Kennedy reasonably expects to exercise his right to liberty.

27. Defendants have a legal duty to use due care and not cause an injury to
Plaintiff or interfere with said rights in any way.

28. Defendants breached that duty by proximately or legally, directly and
indirectly, causing the injuries to Plaintiff Kennedy.

29. The damages claimed are all a result of the injuries.

THIRD CAUSE OF ACTION — TRESPASS ON THE CASE -VICARIOUS LIABILITY

30. Paragraphs 1 through 29 are included by reference as though fully stated
herein.

31. Power is never without responsibility. And when authority derives in part
from Government's thumb on the scales, the exercise of that power by private persons
becomes closely akin, in some respects, to its exercise by Government itseif.

32. The purpose of imposing vicarious liability is to insure the costs of injuries
resulting from defective actions are placed on the source of the actions and others who
make the actions possible rather than on injured persons who are powerless to protect
themselves, For a defendant to be vicariously liable it must play an integral and vita! part
in the overall production and promotion activity so that the actor is in a position to affect
others or, at the very least, it must provide a link in the chain of exposing the ultimate
victim to the actor. The vicariously Hable defendant must be in the business of controlling,

leasing, bailing, or licensing the actors.

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33. Each defendant is an agent of the other, and cach has his place in the chain of
exposing Plaintiff Kennedy to the actors. Each defendant is vicariously liable for each
instance of injury to plaintiff.

FOURTH CAUSE OF ACTION -— FAILURE TO PROVIDE A REPUBLICAN FORM
OF GOVERNMENT

34. ‘Paragraphs 1 through 33 are included by reference as though fully stated
herein.

35. Kennedy wishes defendants to not breach their fiduciary duty to Kennedy.
Kennedy wishes defendants to not breach their oaths of offices and especially "Attorneys
at Jaw" and their private member associations and their published advertisements in
newspapers and on the public internet.

36. The Constitution guarantees to every state a Republican form of
government (Art. 4, Sec. 4). No state may join the United States unless it is a Republic.
Our Republic is one dedicated to "liberty and justice for all." Minority individual rights
are the priority. The people have natural rights instead of civil rights. The people are
protected by the Bill of Rights from the majority, One vote in a jury can stop all of the
majority from depriving any one of the people of his rights; this would not be so if the
United States were a democracy.

37, The business model of defendants is based on a foundation of deceptions,

lies and fraud, especially the United States Postal Service, Commonwealth of

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Pennsylvania, Pennsylvania Bar Association, Schuylkill County Bar Association and The
Disciplinary Board of the Supreme Court of Pennsyivania.®

38, The damages claimed are all a result of the injuries.
FIFTH CAUSE OF ACTION — ACTION OF TROVER

39. Paragraphs 1 through 28 are included by reference as though fully stated
herein.

40. Kidnappers, notably Combs, Clink and the Borough of Minersville

wrongly took, that is stole, Kennedy's personal property and his trade secrets.

41. The damages claimed are all a result of the injuries.
LAW OF THE CASE
42. ‘Through the courts, Kennedy encourages the Government and its employees to

obey the law. Statutes and codes shall be the rules of decision as long as they are not in conflict
with the common law.’

43.  Inacourt of record, a judge has no discretion. Discretion is reserved to the

independent tribunal. When the word "law" is used without qualification, it means common law.

44, — Exhibit “1” is incorporated by reference as though fully stated herein.

REQUEST FOR RELIEF

45, For that cause of action therefore Plaintiff Kennedy brings his suit.

5 ‘There is no legislative foundation for Attorneys at Law and their private member associations to practicc law. [Similarly the (no

name) Bar on Bridgeway in downtown Sausalito, California also has no legislative foundation to practice law.]

” See the use of dictionaries by the Supreme Court of the United States, by Kevin Werbach, titled Looking It Up:
The Supreme Court's Use of Dictionaries in Statutory and Constitutional Interpretation (1994), and Opinions of
Anthony McLeod Kennedy, the Senior Associate Justice of the Supreme Court of the United States.

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46. WHEREFORE, Kennedy wishes the Judge assigned to this case
administrate judgment against Kidnappers, and each of them, as follows:

On all causes of action:

47. For general damages in the sum of $50,000 multiplied by the number of
days in constructive and actual imprisonment per Defendant or One hundred fifty million
dollars ($150,000,000.00), whichever is greater.

48. For the damages for the injury caused by defendant's’ absence of required
action $5,000 for each failure to act times 2000 failures to act; or ten million dollars
($10,000,001) whichever is greater;

49, For an Order to stop the Kidnappers from taking, that is stealing, from
Kennedy, stop and remove all data and privacy violations and false advertisement by the
Kidnappers from Kennedy nunc pro tunc, and restore Kennedy's good standing, simply
stated expunge the records in the The Unified Judicial System of Pennsylvania and
Commonwealth of Pennsylvania records;

50. ‘For an immediate Order to the Kidnappers to return all personal property
and trade secrets taken from Kennedy nunc pro tunc; in other words, Order the Kidnappers
to return all they stole or pay one million dollars ($1,000,000.00) to Kennedy;

31. That the court enter a declaratory judgment that Kidnappers have acted
arbitrarily and capriciously, have abused their discretion and have acted not in accordance

with law, but under color of law;

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52. That the court enter a declaratory judgment that Kidnappers' actions were
in excess of statutory jurisdiction, authority and short of statutory right;

53. That the court permanently enjoin Kidnappers from interfering in any way
with Kennedy's lawful rights and provide him with a republican form of government;

54. That the court permanently enjoin Kidnappers from interfering in any way
with Kennedy's lawful rights, honor their fiduciary duty to Kennedy, net out all alleged
"debt" to zero, remove ali liens, all fines and return all funds stolen from Kennedy to
Kennedy nunc pro tunc;

55. That the court enter a declaratory judgment that the records of the court not
of record are impeached for want of jurisdiction in the Unified Judicial System of
Pennsylvania, its Courts or judicial officers, for collusion between the parties, and/or for
fraud in the parties offering the record, in respect to the proceedings;

56. That the court grant Kennedy his attorneys fees;

57. That the court grant Kennedy such, other and further relief as the court
deems proper;

58. That the court order all the Kidnappers to return the value of all bonds
created in all these matters in three cases;

59. That the court order the Federal Reserve Bank of New York to stop
buying Commonwealth of Pennsylvania and Unified judicial System of Pennsylvania
bonds;
60. That the court order Defendant Saylor not to be stripped naked, not be given a

rectal exam, or be forced to wear prison clothes, but be given physical and mental exams for

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dementia and/or senility and not caged in solitary confinement conditions;

61. For interest as allowed by law; and
62. For costs of suit incurred.

June 6, 2018, County of Lehigh, Pennsylvania.

Ldward Thomas Kennedy SEAL

Edward Thomas Kennedy
401 Tillage Road
Breinigsville, Pennsylvania
Emails: kennedy12@pm.me
Telephone: 415-275-1244
Fax: 570-609-1810.

CERTIFICATE OF SERVICE*

I hereby certify that on June 6, 2018 that I filed a copy of the Plaintiff's Original
Complaint and Exhibit | Law of the Case by United States Postal Service (USPS) regular mail
at the office of the Clerk of Court at United States Court of Federal Claims at Howard T. Markey
National Courts Building, 717 Madison Place, N.W., Washington, DC 20439 and served by US
regular mail, email and/or fax numbers as indicated herein to the following:

Notice to principal is notice to agent; notice to agent is notice to principal.

For the United states, United States of America and the United States Government
Charles W. Scharf, CEO

BNY Mellon

225 Liberty Street

New York, NY 10286

United States

8 Common Law Service of process.

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Fax: 212-635-1799

John C. Williams, Chief Executive Office
Federal Reserve Bank of New York

33 Liberty Street

New York, NY 10045

Notice to principal is notice to agent; notice to agent is notice to principal,

For the United States, United States of America, the United States Government,
the Department of Defense, and the Department of the Treasury to

Jefferson Beauregard Sessions, Attorney General
US Department of Justice

950 Pennsyivania Avenue, NW

Washington, DC 20530-0001

Fax number 202-514-6866.

Catriona M. Coppler

US Department of Justice

Post Office Box 227
Washington DC 20044
Catriona.M.Coppler @usdoj.gov

Department of Defense
1400 Defense Pentagon
Washington, DC 20301-1400

Joseph Francis Dunford
Chairman, Joint Chiefs of Staff
1400 Defense Pentagon
Washington, DC 20301-1400

Steven Terner Mnuchin, Secretary
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001.
steven.t.mnuchin @treasury.gov

Department of Treasury

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950 Pennsylvania Avenue, NW
Washington, DC 20530-0001.
Sent by Fax to 855- 573-7040.

Megan Brennan, CEO
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Thomas J. Marshall, Generai Counsel
United States Postal Service

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Filed 06/11/18

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Notice to principal is notice to agent: notice to agent is notice to principal.

For all Commonweaith of Pennsylvania employees and agents

Robert Torres, Acting Secretary of State

Commonwealth of Pennsylvania Office of the Secretary

302 North Office Building
Harrisburg, PA 17120.
Sent by fax number 717-787-1734

Joshua David Shapiro

Commonwealth of Pennsylvania Attorney General

16th Floor, Strawberry Square
Harrisburg, PA 17120.

Sent by fax number 717-787-8242
https://www.attorneygeneral.gov/contact/

Thomas Westerman Wolf, Governor
Office of the Governor

508 Main Capitol Building
Harrisburg, PA 17120

Sent by fax number 717-772-8284

The Unified Judicial System of Pennsylvania

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County of Schuylkill

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Christine Anne Holman

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Tamaqua Pennsylvania 18252
Sent by Fax to: 570-668-3375,

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Fax: 570-544-6578.

Albert Joseph Evans

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Fax: 570-544-6578.

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Joseph Post

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Richard Charles Clink
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Robert Mahalchick
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Fax: 570-544-6578. fanell

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Cerullo Datte & Burke, PC
450 W Market Street
Pottsville, PA 17901

Sent by fax to: 570 622-0798

Martin Joseph Cerullo
Cerullo Datte & Burke, PC
450 W Market Street
Pottsville, PA 17901

Sent by fax to: 570 622-0798

Fanelli, Evans & Patel, P.C.
1 Mahantongo Street ©
Pottsville, PA 17901

Albert Joseph Evans

Fanelli, Evans & Patel, P.C.
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Pottsville, PA 17901

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Sudhir Raman Patel
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Robert Benjamin Patton

2500 West End Ave. Ste. 10
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The Unified Judicial System of Pennsylvania

601 Commonwealth Ave
Harrisburg, PA 17120

Thomas B. Darr, Court Administrator
Supreme Court of Pennsylvania

601 Commonwealth Ave, Suite 1500
Harrisburg PA 17106-1260

Fax: (717) 231-3327

Filed 06/11/18

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Thomas G. Saylor

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Notice to principal is notice to agent; notice to agent is notice to principal.

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Supreme Court of Pennsylvania

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Plaintiff's Original Complaint
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Notice to principal is notice to agent. notice to agent is notice to principal
Schuylkill County Bar Association

Attention: Charlotte M Green
401 North Second Street
Pottsville, PA 17901

scba@ comcastbiz.net

Pennsylvania Bar Association

Attn. David Keller Trevaskis,

100 South Street,

P.O. Box 186, Harrisburg, Pa. 17108-0186
david. trevaskis @ pabar.org

Sarah M. Murray, President

Bar Association of Lehigh County
Attn: Ray Bridgeman

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Allentown, PA 18102
rbridgeman @ lehighbar.org

Robert Spagnoletti

Chief Executive Officer
District of Columbia Bar
901 4th Street, NW
Washington, DC 20001
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Patrick Joseph Toomey

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David G. Argall

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Neal Patrick Goodman
512E Main Capitol

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http://www.pahouse.com/Goodman/PhotoGallery?g2=2507&PH=3002

Matthew Cartwright

1034 Longworth House Office Building
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https://cartwright.house.gov/contact/email-me

Joseph N. Hanna

Lehigh County Sheriff

455 West Hamilton Street - Room 253
Allentown, PA 18101

County of Lehigh

Attention: Phillips Armstrong, County of Lehigh Executive

17 South Seventh Street
Allentown, PA 18101

Phillips Armstrong

County of Lehigh Executive
17 South Seventh Street
Allentown, PA 18101

Martin Wayne Nothstein
Government Center

17 South 7th St.
Allentown, PA 18101

Percy H. Dougherty
Martin Wayne Nothstein
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James Bernard Martin
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Upper Macungie Township Police Department

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Breinigsville, PA 18031.

Edgardo A. Colon

Upper Macungie Township Police Department
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Robert Ibach

Upper Macungie Township
8330 Schantz Road

Breinigsville, Pa 18031

Upper Macungie Township
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Robert H. D'Ambrosia
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Harrisburg, PA 17110
RA-psprighttoknow @pa.gov

Tyree C. Blocker
Pennsylvania State Police
1800 Elmerton Avenue
Harrisburg, PA 17110
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Date: June 6, 2018
In Memoriam

Robert Francis 'Bobby' Kennedy
non morietur quia dilexit vos

Libweard Thomas Kennedy SEAL

Edward Thomas Kennedy

Plaintiff's Original Complaint
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